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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ELISA WOLTER and the estate of                 )
MARIA G. BOK, by ELISA WOLTER,                 )
individually and on behalf of a class,         )       Case No. 16-cv-04205
       Plaintiffs,                             )       Honorable Judge Robert W. Gettleman
                                               )       Magistrate Judge Valdez
         v.                                    )
                                               )
ANSELMO LINDBERG OLIVER LLC,                   )
     Defendant.                                )

               PLAINTIFFS’ MOTION TO RECONSIDER COURT’S ORDER
                   OF OCTOBER 4, 2017, GRANTING DEFENDANT’S
                       MOTION FOR SUMMARY JUDGMENT

         Plaintiffs respectfully request, pursuant to Federal Rule of Civil Procedure 59(e), that this

Court reconsider its Memorandum Opinion and Order of October 4, 2017 (Dkt. #69) granting

Defendant’s Motion for Summary Judgment on the ground that Plaintiffs lack standing and

denying Plaintiffs’ Motion for Class Certification as moot.

         The grounds for this motion are as follows:

         1.     First, in issuing its opinion, the Court did not designate that the dismissal was

without prejudice. However, when a case is dismissed for lack of standing, it can only be

dismissed without prejudice. Remijas v. Neiman Marcus Grp., LLC, 794 F.3d 688, 690 (7th Cir.

2015) (citing Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 102 (1998); Hernandez v.

Conriv Realty Assocs., 182 F.3d 121, 122 (2d Cir. 1999)). Accordingly, if the Court declines to

reconsider the merits of its decision as requested below, the dismissal should be designated as

without prejudice.

         2.     Additionally, in reaching its opinion that Plaintiffs lacked standing, the Court

wrote:



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       Plaintiffs contend that they suffered an informational injury, as did the plaintiff in Havens
       Realty Corp. v. Coleman, 455 U.S. 374 (1982). In Havens, the plaintiff, a housing
       discrimination tester, met the injury in fact requirement because she had suffered an
       informational injury. In Havens, however, the plaintiff failed to receive the information to
       which she was legally entitled. As the Seventh Circuit explained in Groshek, “a plaintiff
       suffers an injury in fact when the plaintiff fails to obtain information which must be
       publicly disclosed pursuant to a statute.” Groshek [v. Time Warner Cable, Inc.], 865 F.3d
       [884,] 887 [(7th Cir. 2017)] (citing Federal Election Comm’n v. Akins, 542 U.S. 11, 22
       (1998); Public Citizen v. Department of Justice, 491 U.S. 440, 449 (1989)). Therefore,
       like the plaintiff in Groshek, and unlike the plaintiffs in Adkins and Public Citizen,
       plaintiffs are not seeking to compel defendant to provide them with information. They
       have not alleged that, after receiving the allegedly misleading letter, they requested
       defendant to provide them with information about whether they could be sued for a
       deficiency judgment and were denied such information. Thus, because plaintiffs have not
       “failed” to obtain information, they have not suffered an informational injury. Groshek,
       865 F.3d at 888.

Op. 5-6.

       3.      Thus, the Court’s decision rests on the premise that an informational injury can

only occur when a plaintiff fails to receive information from a defendant. This conclusion is a

misapplication of Havens and warrants reconsideration by this Court.

       4.      The Court is correct that the information injuries in Adkins and Public Citizen

involved the plaintiffs’ inability to obtain certain information they had requested and to which

they were legally entitled. Fed. Election Comm’n v. Akins, 524 U.S. 11, 20 (1998) (holding

plaintiffs had standing because “[t]he injury of which respondents complain—their failure to

obtain relevant information—is injury of a kind that FECA seeks to address”); Pub. Citizen v.

U.S. Dep't of Justice, 491 U.S. 440, 449 (1989) (“[R]efusal to permit appellants to scrutinize the

ABA Committee’s activities to the extent FACA allows constitutes a sufficiently distinct injury

to provide standing to sue.”)

       5.      However, the withholding of information that the law requires be disclosed is not

the only kind of informational injury. As Havens demonstrates, an informational injury also




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results when a defendant provides information but it is false or misleading, where the law

requires it to be truthful.

        6.      At issue in Havens was a provision of the Fair Housing Act which provided “that

it is unlawful for an individual or firm covered by the Act ‘[t]o represent to any person because

of race, color, religion, sex, or national origin that any dwelling is not available for inspection,

sale, or rental when such dwelling is in fact so available.’” Havens, 455 U.S. at 373 (citing 42

U.S.C. § 3604(d)) (emphasis in original).

        7.      The Supreme Court concluded that through this provision “Congress . . .

conferred on all ‘persons’ a legal right to truthful information about available housing.” Id.

(emphasis added).

        8.      Thus, the Court held that a black “tester” who received false information about

the availability of housing from the defendant had standing, whereas a white “tester” who

received truthful information did not. Id. at 364. Neither was denied information. The key

distinction was that the information one received was truthful, while the information the other

received was false. Accordingly, it is not only the withholding of information as in Adkins and

Public Citizen that can create an informational injury; the providing of false or misleading

information in violation of statutory standards also causes an informational injury.

        9.      That the plaintiffs in Havens requested the information while Defendants initiated

the sending of information in this case is of no import. Had the landlords in Havens volunteered

false information without being asked, it would not have altered the Court’s standing analysis.

        10.     The only difference between Havens and this case is that where the Federal

Housing Act requires certain information about housing availability to not be false, the FDCPA




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requires certain information in connection with the collection of debts to not be false, deceptive,

or misleading. 15. U.S.C. § 1692e.

       11.     This Court wrote that Plaintiffs were like the plaintiff in Groshek v. Time Warner

Cable, Inc., 865 F.3d 884 (7th Cir. 2017), in that they were “not seeking to compel defendant to

provide them with information.” Op. 5-6. However, while the Court in Groshek distinguished its

case from Adkins and Public Citizen on that ground, it distinguished its case from Havens on

different grounds. Specifically, it wrote that unlike in Havens, the injury the plaintiff in its case

alleged was not of “the form the statute was intended to guard against.” Groshek, 865 F.3d at 888

n.3 (quoting Havens, 455 U.S. at 373).

       12.     A misleading communication from a debt collector is, however, precisely the kind

of injury the FDCPA was intended to prevent and therefore causes an injury sufficient for

standing. Aguirre v. Absolute Resolution Corp., et al., No. 15 C 11111, 2017 WL 4280957, at *3

(N.D. Ill. Sept. 27, 2017) (Pallmeyer, J.)(holding the plaintiff had standing under the FDCPA

because the alleged injuries were “the precise harms the FDCPA was meant to remedy”).

       13.     At least two FDCPA cases decided in this Circuit after briefing in this matter was

completed relied on Havens in determining that the plaintiffs in those cases suffered

informational injuries sufficient to confer standing. Neither case involved defendants refusing to

provide information demanded by the plaintiffs.

       14.     In Marquez v. Weinstein, Pinson & Riley, P.S., No. 14 C 739, 2017 WL 4164170,

at *1 (N.D. Ill. Sept. 20, 2017) (Tharp, J.), the defendant had included as a paragraph in a state

court complaint filed against alleged debtors a statement that “the debt referenced in this suit will

be assumed to be valid and correct if not disputed in whole or in part within thirty (30) days from

the date hereof,” language that the FDCPA requires be in an initial communication with a debtor




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unless that communication is a complaint. On appeal, the Seventh Circuit Court of Appeals

found this language “plainly deceptive and misleading to an unsophisticated consumer as a

matter of law” as to the proper timing and method of response to the complaint. Id. at *2. On

remand, the defendant argued the plaintiffs had no standing. Id. at *2. Referring to the plaintiffs’

injury as an “informational harm,” Id. at *4 n.2, Judge Tharp concluded that the plaintiffs had

standing because “[l]ike the FHA [in Havens], which establishes an enforceable right to truthful

information concerning the availability of housing, the FDCPA establishes an enforceable right

to accurate information about consumer debts. And because the Seventh Circuit has determined

that Paragraph 12 was not accurate, but rather misleading as a matter of law, it follows that the

plaintiffs have demonstrated that they ‘have been the object of a misrepresentation made

unlawful’ under the FDCPA.” Id. at *4 (emphasis in original).

       15.     The court in Wheeler v. Midland Funding, LLC, No. 15 C 11152, 2017 WL

3235683 (N.D. Ill. July 31, 2017) (Kendall, J.), similarly found the reasoning of Havens to be

persuasive. The plaintiff in Wheeler sued a debt collector under the FDCPA for failing to inform

him in its communications with him that his debt was beyond the statute of limitations. Id. at *1.

Discussing Havens and referring to “informational injuries,” the court held that the plaintiff had

standing because “[s]imilar to the FHA, the FDCPA, confers a right to truthful information and

is aimed at preventing unlawful misrepresentations. And similar to the testers in Havens Realty,

Wheeler personally suffered a cognizable injury—the deprivation of truthful information—even

without suffering a pecuniary loss.” Id. at *3, *4.

       16.     Although not discussing Havens in any depth, the court in Aguirre v. Absolute

Resolution Corp., et al., No. 15 C 11111, 2017 WL 4280957, at *3 (N.D. Ill. Sept. 27, 2017)

(Pallmeyer, J.), cited it in support of its conclusion that the plaintiff had standing because her




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alleged injuries were “the precise harms the FDCPA was meant to remedy.” In Aguirre, the

defendants sent a collection letter that stated that “[b]ecause of interest, late charges, and other

charges that may vary from day to day, the amount due on the day you pay may be greater,”

when they “were not authorized—and never intended—to add any such charges to her account.”

Id. at *2. Judge Pallmeyer cited over a dozen FDCPA cases addressing standing in this Circuit

since Spokeo, noting that in every one of them “the courts have concluded that plaintiffs claiming

intangible injuries from allegedly predatory debt collection practices do in fact have Article III

standing to sue for statutory damages under the FDCPA.” Id. at *4, n. 3.

        17.     Similarly, in Lopez v. Glob. Credit & Collection Corp., No. 17 CV 427, 2017 WL

4340098, at *1 (N.D. Ill. Sept. 29, 2017) (Shah, J.), the plaintiff received a letter falsely stating

that he owed a debt. A court in another state had already determined that the debt belonged to

someone else with the same name. Id. The defendant argued the plaintiff suffered no injury

because he knew he did not owe the debt. Id. Judge Shah disagreed, writing: “Congress has

created a legally protected interest to be free from the receipt of a false communication, and

whether or not plaintiff was subjectively deceived, he suffered the precise injury that Congress

defined in the statute.” Id.

        18.     Accordingly, this Court’s conclusion that Plaintiffs did not suffer an informational

injury from a failure to obtain information is incomplete. This Court did not consider whether the

FDCPA creates a legal right to non-false, non-deceptive, and non-misleading information and

whether the provision of false, deceptive, or misleading information is therefore sufficient to

create an informational injury like the one in Havens.

        WHEREFORE, Plaintiffs respectfully move for reconsideration of the Court’s order

(Dkt. #69) granting Defendant Motion for Summary Judgment and denying Plaintiffs’ Motion




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for Class Certification. Should the Court deny this Motion, Plaintiff’s request that the dismissal

of the case be designated as without prejudice.

                                              Respectfully submitted,

                                              s/ Michelle A. Alyea
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                                CERTIFICATE OF SERVICE

        I, Michelle A. Alyea, certify that on October 11, 2017, I caused a true and accurate copy
of the foregoing document to be served to all counsel of record via the Court’s CM/ECF system.




                                             /s/ Michelle A. Alyea
                                             Michelle A. Alyea




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